Case 8:19-ap-01201-TA          Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31               Desc
                                Main Document    Page 1 of 8


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 5   Attorney For Defendant Guy Griffithe

 6

 7                                   UNITED STATES BANKRUPTCY COURT

 8                                    CENTRAL DISTRICT OF CALIFORNIA

 9                                          SANTA ANA DIVISION

10

11    In re                                          Case No. 8:19-bk-12480-TA

12    GUY GRIFFITHE,                                 Adv. 8:19-ap-01201-TA

13            Debtor                                 Before the Honorable Theodor Albert
      _________________________________
14                                                   Chapter 7
      STEVEN BAGOT,
15                                                   DEFENDANT’S OBJECTIONS &
                         Plaintiff                   EVIDENTIARY OBJECTIONS TO
16                                                   PLAINTIFF’S REQUEST FOR JUDICIAL
      vs.                                            NOTICE IN SUPPORT OF OPPOSITION TO
17                                                   DEFENDANT’S MOTION TO DISMISS
      GUY GRIFFITHE
                                                     Date: 1-16-2020
18                                                   Time: 10:00 AM
                        Defendant
                                                     Place: 411 West Fourth Street, Santa Ana, CA
19                                                   Courtroom 5B
20

21

22             Defendant Guy Griffithe (“Defendant”) hereby objects and opposes Plaintiff Steven Bagot
23   (“Plaintiff”)’s Request for Judicial Notice in Support of Opposition to Defendant's Motion to Dismiss
24   to the following documents:
25   1.        Exhibit 1: Plaintiff’s Complaint filed in the Washington State Litigation
26   2.        Exhibit 2: “Distribution” check issued to Plaintiff by Defendant-Debtor (but from a separate
27             entity: Green Acres Pharms LLC) for Plaintiff’s purported investment in SMRB, LLC.
28

     1/6-11:19am
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Case 8:19-ap-01201-TA          Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                 Desc
                                Main Document    Page 2 of 8


 1   3.        Exhibit 3: The Response to Request for Admissions from SMRB, LLC (d.b.a. Green Acres

 2             Pharms).

 3   4.        Exhibit 4: Text message conversation containing Defendant-Debtor’s fraudulent statements

 4             designed to convince Mr. Bagot to give him an additional $200,000.00.

 5   5.        Exhibit 6: “Rescission and Repurchase Offer” to Plaintiff Mr. Bagot for $715,000.00.

 6   6.        Exhibit 7: The (first) Order in the Washington State Litigation dated June 12 Compelling

 7             Defendant’s Responses to the first set of discovery requests.

 8   7.        Exhibit 9: The Declaration of Defendant-Debtor Guy Griffithe, filed in Opposition to a Motion

 9             for Summary Judgment in the Washington State Litigation.

10   8.        Exhibit 10: Demand Letter re: Record Inspection Pursuant to RCW 25.15.136.

11   9.        Exhibit 11: The Orders for Sanctions in the Washington State Litigation against Renewable

12             Technologies Solutions, Inc., and Green Acres Pharms, LLC including for responses to the

13             discovery requests, money sanctions, and default.

14   ---

15   1.        PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE SHOULD BE DENIED

16             BECAUSE IT DOES NOT CONTAIN ADEQUATE FACTS FOR THIS COURT TO

17             TAKE JUDICIAL NOTICE

18             Plaintiff cites to Federal Rule of Evidence (“FRE”) 201 as his basis for opposing the Motion.

19   Plaintiff, however, fails to meet the basic threshold requirements under FRE 201 because the “facts”

20   he advocates for are not the kinds of facts that may be judicially noticed.

21             Federal Rule of Evidence 201 provides that a court may take judicial notice of “an

22   adjudicative fact” that is not subject to reasonable dispute because it: (1) is generally known

23   within the trial court’s territorial jurisdiction; or (2) can be accurately and readily determined

24   from sources whose accuracy cannot reasonably be questioned.” See FRE 201(a), (b).

25   2.        THE INFORMATION SOUGHT TO BE JUDICIALLY NOTICED IN THE

26             OPPOSITION ARE NOT “FACTS”—THEY ARE ALLEGATIONS MADE IN AN

27             ENTIRELY UNRELATED LAWSUIT

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     1/6-11:19am
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Case 8:19-ap-01201-TA            Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                  Desc
                                  Main Document    Page 3 of 8


 1             The information the Plaintiff seek to admit are merely allegations—not facts. Throughout the

 2   Opposition, the Plaintiff cites to certain allegations made against Defendant in the Washington

 3   Superior Court case and in the Washington State Liquor and Cannabis Board (the “Unrelated

 4   Lawsuits”). Further, the Opposition masquerades allegations made in the Unrelated Lawsuits against

 5   the Defendant as facts subject to judicial notice. Federal Rule of Evidence 201 does not allow a party

 6   to bolster allegations into facts.

 7   3.        EVEN IF THE INFORMATION IN THE OPPOSITION WERE FACTS—WHICH

 8             THEY ARE NOT—THEY STILL DO NOT MEET THE REQUIREMENT OF BEING

 9             “ADJUDICATE FACTS” THAT ARE “NOT SUBJECT TO REASONABLE

10             DISPUTE”

11             Even though a court may take judicial notice of a document filed in another court to establish

12   the fact of such litigation and related filings, a court cannot take judicial notice of the factual findings

13   of another court. This is so because (1) such findings do not constitute facts ‘not subject to reasonable

14   dispute’ within the meaning of Rule 201 and (2) ‘were it permissible for a court to take judicial notice

15   of a fact merely because it had been found to be true in some other action, the doctrine of collateral

16   estoppel would be superfluous.

17             Plaintiff’s request for judicial notice are not “facts” that qualify for judicial notice under

18   the clear language of FRE 201. On this basis alone, the Request should be denied.

19   4.        EVIDENTIARY OBJECTIONS

20             The following references in these objections are intended to incorporate the Federal Rules of

21   Evidence respectively indicated below. The Federal Rules of Evidence are applicable herein by virtue

22   of F.R.Bankr.P. 9017.

23                     Objection                                               Evidence Rule

24             a.      Irrelevant/Conclusory Statement                         402/4031

25             b.      Hearsay                                                 802

26

27             1
              Hollander v. American Cynamid Company, 172 F.2d 192, 198 (2nd Cir. 1999) ("a court may
     strike portions of an affidavit that . . . make generalized conclusory statements.")
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     1/6-11:19am
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Case 8:19-ap-01201-TA         Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                    Desc
                               Main Document    Page 4 of 8


 1             c.    Double hearsay                                           802, 805

 2             d.    Assumes facts not in evidence                            104(b)

 3             e.    Lack of foundation                                       602, 9012

 4             f.    Argument disguised as testimony                          402, 6023

 5             g.    Expert opinion (offered without foundation of expertise)          702

 6             h.    Best Evidence Rule/Misstates contents of document/Document speaks for itself (proof

 7                   of content of a writing)                         1002, 1003, 1004

 8             i.    Sham declaration                                         402

 9
      Exhibit 1: Plaintiff’s Complaint filed in the          Objections
10
      Washington State Litigation                            Lacks Foundation. Lacks Authentication.
11
                                                             Lacks Personal Knowledge. Hearsay. Plaintiff
12
                                                             has failed to produce, as a condition precedent
13
                                                             to admissibility, evidence sufficient to support
14
                                                             a fining that the document in question is what
15
                                                             its proponent claims. Fed.R.Evid. Rule 90l(a).
16

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              Documents in support of or in opposition to summary judgment must be properly
     authenticated. In re Citric Acid litigation, 191 F.3d 1090, 1101 (9th Cir. 1999) ("to be considered
24
     documents must be authenticated by and attached to an affidavit . . . and the affiant must be a person
25   through whom the exhibits could be admitted into evidence." [Citation omitted].)
               3
26            Gill v. Tishman Construction (In re Santa Monica Beach Hotel), 209 B.R. 722, 727 (B.A.P.
     9th Cir. 1997), citing, Haymaker v. Greentree Consumer Discount Co., 166 B.R. 601, 607 (Bankr.
27   W.D. Pa. 1994) ("indignant statements by . . . counsel . . . are not admissible evidence . . ."). See also
     Russell, Bankruptcy Evidence Manual, §101.1(6) (1998 Ed.) (counsel's arguments are not evidence).
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     1/6-11:19am
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Case 8:19-ap-01201-TA       Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                  Desc
                             Main Document    Page 5 of 8


 1
      Exhibit 2: “Distribution” check issued to          Objections
 2
      Plaintiff by Defendant-Debtor (but from a          Lacks Foundation. Lacks Authentication.
 3
      separate entity: Green Acres Pharms LLC) for       Lacks Personal Knowledge. Hearsay. Plaintiff
 4
      Plaintiff’s purported investment in SMRB,          has failed to produce, as a condition precedent
 5
      LLC                                                to admissibility, evidence sufficient to support
 6
                                                         a fining that the document in question is what
 7
                                                         its proponent claims. Fed.R.Evid. Rule 90l(a).
 8    Exhibit 3: The Response to Request for             Objections
 9    Admissions from SMRB, LLC (d.b.a. Green            Lacks Foundation. Lacks Authentication.
10    Acres Pharms).                                     Lacks Personal Knowledge. Hearsay. Plaintiff
11                                                       has failed to produce, as a condition precedent
12                                                       to admissibility, evidence sufficient to support
13                                                       a fining that the document in question is what
14                                                       its proponent claims. Fed.R.Evid. Rule 90l(a).
15    Exhibit 4: Text message conversation               Objections

16    containing Defendant-Debtor’s fraudulent           Lacks Foundation. Lacks Authentication.

17    statements designed to convince Mr. Bagot to       Lacks Personal Knowledge. Hearsay. Plaintiff

18    give him an additional $200,000.00.                has failed to produce, as a condition precedent

19                                                       to admissibility, evidence sufficient to support

20                                                       a fining that the document in question is what

21                                                       its proponent claims. Fed.R.Evid. Rule 90l(a).

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Case 8:19-ap-01201-TA        Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                   Desc
                              Main Document    Page 6 of 8


 1
      Exhibit 6: “Rescission and Repurchase Offer”         Objections
 2
      to Plaintiff Mr. Bagot for $715,000.00.              Lacks Foundation. Lacks Authentication.
 3
                                                           Lacks Personal Knowledge. Hearsay. Plaintiff
 4
                                                           has failed to produce, as a condition precedent
 5
                                                           to admissibility, evidence sufficient to support
 6
                                                           a fining that the document in question is what
 7
                                                           its proponent claims. Fed.R.Evid. Rule 90l(a).
 8    Exhibit 7: The (first) Order in the Washington       Objections
 9    State Litigation dated June 12 Compelling            Lacks Foundation. Lacks Authentication.
10    Defendant’s Responses to the first set of            Lacks Personal Knowledge. Hearsay. Plaintiff
11    discovery requests                                   has failed to produce, as a condition precedent
12                                                         to admissibility, evidence sufficient to support
13                                                         a fining that the document in question is what
14                                                         its proponent claims. Fed.R.Evid. Rule 90l(a).
15    Exhibit 9: The Declaration of                        Objections

16    Defendant-Debtor Guy Griffithe, filed in             Lacks Foundation. Lacks Authentication.

17    Opposition to a Motion for Summary                   Lacks Personal Knowledge. Hearsay. Plaintiff

18    Judgment in the Washington State Litigation          has failed to produce, as a condition precedent

19                                                         to admissibility, evidence sufficient to support

20                                                         a fining that the document in question is what

21                                                         its proponent claims. Fed.R.Evid. Rule 90l(a).

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Case 8:19-ap-01201-TA          Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                 Desc
                                Main Document    Page 7 of 8


 1
      Exhibit 10: Demand Letter re: Record                 Objections
 2
      Inspection Pursuant to RCW 25.15.136.                Lacks Foundation. Lacks Authentication.
 3
                                                           Lacks Personal Knowledge. Hearsay. Plaintiff
 4
                                                           has failed to produce, as a condition precedent
 5
                                                           to admissibility, evidence sufficient to support
 6
                                                           a fining that the document in question is what
 7
                                                           its proponent claims. Fed.R.Evid. Rule 90l(a).
 8    Exhibit 11: The Orders for Sanctions in the          Objections
 9    Washington State Litigation against                  Lacks Foundation. Lacks Authentication.
10    Renewable Technologies Solutions, Inc., and          Lacks Personal Knowledge. Hearsay. Plaintiff
11    Green Acres Pharms, LLC including for                has failed to produce, as a condition precedent
12    responses to the discovery requests, money           to admissibility, evidence sufficient to support
13    sanctions, and default                               a fining that the document in question is what
14                                                         its proponent claims. Fed.R.Evid. Rule 90l(a).
15             WHEREFORE, Defendant respectfully requests that the Court deny the Plaintiff’s Request
16   for Judicial Notice be denied.
17

18   DATED:           January 6, 2020               LAW OFFICE OF BARUCH C. COHEN
                                                    A Professional Law Corporation
19
                                                    By     /S/ Baruch C. Cohen
20                                                  Baruch C. Cohen, Esq.
                                                    Attorney For Defendant Guy Griffithe
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        Case 8:19-ap-01201-TA                      Doc 20 Filed 01/06/20 Entered 01/06/20 10:37:31                                     Desc
                                                    Main Document    Page 8 of 8



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: Defendant’s Objections & Evidentiary Objections To
Plaintiff’s Request For Judicial Notice In Support Of Opposition To Defendant’s Motion To Dismiss will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 1/6/2020,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                      msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 1/6/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


Heidi Urness, Heidi Urness Law PLLC, 725 E Denny, Seattle, WA 98122


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/6/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/6/2020                       Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
